                       Case 2:24-mj-00105-kjd Document 1 Filed 09/26/24 Page 1 of 1
AO 106 (Rev. 04/10) Application for a Search Warrant
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                                                                                                                       DISTRICT OF h'ERMONT
                                        UNITED STATES DISTRICT COURT                                                                  FILED
                                                                           for the                                     W2Q SEP 26 PM 3: 07
                                                                   District ofVennont

               In the Matter of the Search of                                   )
         (Briefly describe the property to be searched                          )
          or identify the person by name and address)                           )
four cellular devices in the custody of U.S. Border Patrol                      )
    at the Richford Border Patrol Station in Richford,                          )
                          Vermont                                               )

                                              APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
prfll)erty,.to b~ searched and l{ive its lpcqtionl:.
  ;:,ee l"\ttacnment A, mcorporatea nerem.

located in the - - - - - - - - District of - - - - -
                                                   Vermont
                                                     - - - - - - - , there is now concealed (identify the
person or describe the property to be seized):
  See Attachment B, incorporated herein.


           The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
                ~ evidence of a crime;
                  □ contraband, fruits of crime, or other items illegally possessed;

                  ~ property designed for use, intended for use, or used in committing a crime;
                  □ a person to be arrested or a person who is unlawfully restrained.

           The search is related to a violation of:
              Code Section                                                                  Offense Description
        8 U.S.C. §§ 1324(a)(1)(A)                      Bringing/attempting to bring aliens to tne U.S. at otherlhan designated port of entry; transporting
        (i),1324(a)(1)(A)(ii), 1324(a)(1)              aliens in furtherance of their illegal entry; and/or conspiring to or aiding/abetting any of the
                                                       preceding acts, while knowing or recklessly disregarding the fact that they were aliens who had
        (A)(v)(I), 1324(a)(1 )(A)(II)                  illegally entered the United States
         The application is based on these facts:
        See attached Affidavit.


           ~ Continued on the attached sheet.
           □    Delayed notice of _ _ days (give exact ending date if more than 30 days: _ _ _ _ _ ) is requested
                under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.


                                                                                       t,.I {ti,(          App/lrnnt', ,,.,,,,,.,..

                                                                                              Nathaniel J. Arnold, Border Patrol Agent
                                                                                                           Printed name and title

Sworn to before me and signed in my presence.

Date:
                                                                                                             Judge 's signature

City and state: Burlington, Vermont                                                         Hon. Judith G. Dein, U.S. Magistrate Judge
                                                                                                           Printed name and title
